Case 2:21-cv-04405-RGK-MAR Document 122-30 Filed 08/09/22 Page 1 of 7 Page ID
                                 #:4846



 1    THE INSTITUTE FOR JUSTICE
      Robert Frommer*
 2    rfrommer@ij.org
      Joseph Gay^
 3    jgay@ij.org
      901 N. Glebe Rd., Suite 900
 4    Arlington, VA 22203
      Tel. (703) 682-9320
 5    Robert E. Johnson*
      rjohnson@ij.org
 6    16781 Chagrin Blvd., Suite 256
      Shaker Heights, OH 44120
 7    Tel. (703) 682-9320
 8    * Admitted pro hac vice.
      ^Pro hac vice application pending.
 9    THE VORA LAW FIRM, P.C.
      Nilay U. Vora (SBN 268339)
10    nvora@voralaw.com
      Jeffrey Atteberry (SBN 266728)
11    jatteberry@voralaw.com
      201 Santa Monica Blvd., Suite 300
12    Santa Monica, CA 90401
      Tel. (424) 258-5190
13
      Attorneys for Plaintiffs
14
                   IN THE UNITED STATES DISTRICT COURT
15               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION
16
                                         Case No. 2:21-cv-04405-RGK-MAR
17   PAUL SNITKO, JENNIFER
     SNITKO, JOSEPH RUIZ, TYLER
18   GOTHIER, JENI VERDON-
     PEARSONS, MICHAEL STORC,            PLAINTIFF JENI VERDON-
19   and TRAVIS MAY,                     PEARSONS’ RESPONSES TO
20                           Plaintiffs, DEFENDANTS’
                                         INTERROGATORIES
                                                          FIRST SET OF
              v.
21

22   UNITED STATES OF AMERICA,
     TRACY L. WILKISON, in her
23   official capacity as Acting United
     States Attorney for the Central
24   District of California, and KRISTI
     KOONS JOHNSON, in her official
25   capacity as an Assistant Director of    Judge: Hon. R. Gary Klausner
     the Federal Bureau of Investigation,    Trial Date: July 26, 2022
26
                                 Defendants. Complaint Filed: May 27, 2021
27                                           Amended Complaint Filed: June 9, 2021
28

            PLAINTIFF JENI VERDON-PEARSONS’ RESPONSES TO DEFENDANTS’ FIRST SET OF
                                      INTERROGATORIES


                                      EXHIBIT CC
                                         455
Case 2:21-cv-04405-RGK-MAR Document 122-30 Filed 08/09/22 Page 2 of 7 Page ID
                                 #:4847



 1          Plaintiff Jeni Verdon-Pearsons, through her attorneys, hereby submits these
 2   responses to Defendants’ First Set of Interrogatories pursuant to Fed. R. Civ. P. 33.
 3

 4

 5

 6

 7

 8

 9

10

11

12
13

14

15

16

17

18

19

20

21

22

23

24
25

26

27

28

                                               2
     PLAINTIFF JENI VERDON-PEARSONS’ RESPONSES TO DEFENDANTS’ FIRST SET OF INTERROGATORIES


                                       EXHIBIT CC
                                          456
Case 2:21-cv-04405-RGK-MAR Document 122-30 Filed 08/09/22 Page 3 of 7 Page ID
                                 #:4848



  1

  2

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24
 25   INTERROGATORY NO. 14:
 26          Please state all facts to support your contention that you have suffered harm
 27   as a result of defendant’s retention of records created during the search at USPV,
 28   identify the harm you suffered, identify all persons who have knowledge of those
                                                13
      PLAINTIFF JENI VERDON-PEARSONS’ RESPONSES TO DEFENDANTS’ FIRST SET OF INTERROGATORIES


                                       EXHIBIT CC
                                          457
Case 2:21-cv-04405-RGK-MAR Document 122-30 Filed 08/09/22 Page 4 of 7 Page ID
                                 #:4849



 1   facts and harm and state the knowledge each such person possesses and identify all
 2   documents that support your response to this interrogatory.
 3

 4   RESPONSE: Like all Americans, I have a right to not have the government seize
 5   and hold private information concerning my affairs in violation of the Fourth
 6   Amendment. I am injured because the government is retaining information that it
 7   has no right to possess and may use that information for its criminal investigative
 8   purposes. I am deeply worried about the government’s continued retention of
 9   records created during its search and seizure of my safe-deposit box at USPV
10   because I have no way of knowing to what the government will use those records
11   for and what the downstream consequences for me will be. The government already
12   conducted a criminal investigation into me and sought to civilly forfeit my legally
13   obtained property after it illegally searched and seized my safe-deposit box. I am a
14   law-abiding citizen, but the government’s investigating me was a very scary
15   process. I am fearful that the government will use the records it is retaining—that it
16   never should have obtained in the first place—to wrongfully subject me to
17   investigation all over again.
18

19

20

21

22

23

24
25

26

27

28

                                               14
     PLAINTIFF JENI VERDON-PEARSONS’ RESPONSES TO DEFENDANTS’ FIRST SET OF INTERROGATORIES


                                       EXHIBIT CC
                                          458
Case 2:21-cv-04405-RGK-MAR Document 122-30 Filed 08/09/22 Page 5 of 7 Page ID
                                 #:4850



  1

  2

  3

  4   Dated: May 2, 2022                        Respectfully Submitted,
  5

  6
                                                                                        s
  7
                                                    THE INSTITUTE FOR JUSTICE
  8                                                 Robert Frommer*
                                                    rfrommer@ij.org
  9                                                 Joseph Gay^
                                                    jgay@ij.org
 10                                                 901 N. Glebe Rd., Suite 900
                                                    Arlington, VA 22203
 11                                                 Tel. (703) 682-9320
 12                                                 Robert E. Johnson*
                                                    rjohnson@ij.org
 13                                                 16781 Chagrin Blvd., Suite 256
                                                    Shaker Heights, OH 44120
 14                                                 Tel. (703) 682-9320
 15                                                 *Admitted pro hac vice.
 16
                                                    ^Motion for pro hac vice pending.

 17                                                 THE VORA LAW FIRM, P.C.
 18
                                                    Nilay U. Vora (SBN 268339)
                                                    nvora@voralaw.com
 19
                                                    Jeffrey Atteberry (SBN 266728)
                                                    jatteberry@voralaw.com
 20
                                                    201 Santa Monica Blvd., Suite 300
                                                    Santa Monica, CA 90401
 21
                                                    Tel. (424) 258-5190

 22                                                 Attorneys for Plaintiffs
 23

 24
 25

 26

 27

 28

                                               17
      PLAINTIFF JENI VERDON-PEARSONS’ RESPONSES TO DEFENDANTS’ FIRST SET OF INTERROGATORIES


                                       EXHIBIT CC
                                          459
Case 2:21-cv-04405-RGK-MAR Document 122-30 Filed 08/09/22 Page 6 of 7 Page ID
                                 #:4851




     1                                       VERIFICATION
     2          I, Jeni Verdon-Pearsons, hereby declare that:
     3          I am a plaintiff in this action. I have read the above responses to Defendants'
     4    First Set of Interrogatories. As to the answers, I am informed and believe that the
     5    answers are true.
     6          I declare under penalty of perjury under the laws of the United States that the
     7   fore going is true and correct.
     8          Executed this ~ day of A-~\J       \ at l..v¢ ~ , California.
     9
    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22
    23

    24

    25

    26
    27

    28

                                                    18
         PLAINTIFF JENI VERDON-PEARSONS' RESPONSES TO DEFENDANTS' FIRST SET OF INTERROGATORIES


                                           EXHIBIT CC
                                              460
Case 2:21-cv-04405-RGK-MAR Document 122-30 Filed 08/09/22 Page 7 of 7 Page ID
                                 #:4852



  1                             CERTIFICATE OF SERVICE
  2          I hereby certify under penalty of perjury that the foregoing Plaintiff Jeni
  3   Verdon-Pearsons’ Responses to Defendants’ First Set of Interrogatories are
  4   complete and correct, and were served on Defendants’ counsel via electronic mail
  5   and First Class Mail on May 2, 2022 to the following:
  6
             Victor Rodgers
  7          Maxwell Coll
             Andrew Brown
  8          Assistant United States Attorney
             Asset Forfeiture Section
  9          312 North Spring Street, 14th Floor
             Los Angeles, California 90012
 10          Phone 213.894.2569
             Fax 213.894.0142
 11          victor.rodgers@usdoj.gov
             maxwell.coll@usdoj.gov
 12          andrew.brown@usdoj.gov
 13                                                   ___________________
 14
                                                      Robert Frommer
                                                      Attorney for Plaintiffs
 15

 16

 17

 18

 19

 20

 21

 22

 23

 24
 25

 26

 27

 28

                                                 19
      PLAINTIFF JENI VERDON-PEARSONS’ RESPONSES TO DEFENDANTS’ FIRST SET OF INTERROGATORIES


                                        EXHIBIT CC
                                           461
